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 1
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 5
   Attorneys for Defendant
 6 ANTHONY FAULK

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                    NORTHERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                            CASE NO. 3-19-CR-00676
11
                                   Plaintiff,             STIPULATION AND ORDER TO CONTINUE
12                                                        STATUS CONFERENCE HEARING
                             v.
13
     ANTHONY FAULK,                                       Date:      December 16, 2021
14                                                        Time:      1:30PM
                                  Defendant.              Judge:     Hon. William H. Orrick
15

16
            Plaintiff United States of America, through its respective counsel, and defendant Anthony Faulk,
17
     through his counsel of record, stipulate that the status conference now set for December 16, 2021 be
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     continued to February 17, 2022.
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            AUSA Leach and counsel Wirsching are aware and respectful of this Honorable Court’s
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     admonition at a previous Status Conference held via Zoom in this matter, that the Court is disinclined to
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     issue an additional continuance in this matter due to the age of the case. Counsel are seeking this Joint
22
     Stipulation to Continue in the interest of judicial efficiency, and to ensure a just outcome for Mr. Faulk.
23
     The parties are prepared to give additional details under seal to the extent the Court requires further
24
     information to understand the basis for a continuance.
25
             As AUSA Leach and Counsel Jennifer Wirsching previously advised this Honorable Court, a
26
     companion case against Mr. Faulk was revealed to the defendant and his counsel in February 2021. Due
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     in large part to COVID restrictions, the Northern District of Georgia did not arraign Mr. Faulk until May
28
     25, 2021. Counsel Wirsching is Pro Hac Vice counsel of record in the Northern District of Georgia case.
      STIPLUATION AND PROPOSED ORDER TO                   1
30    CONTINUE STATUS CONFERENCE
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 1 To date the AUSA’s office in Georgia has not yet provided counsel Wirsching with the complete

 2 discovery in that matter. Counsel Wirsching has been advised, and has discussed with AUSA Leach, that

 3 the discovery in the companion Georgia case is voluminous: nearly 40GB. Mr. Faulk and the

 4 prosecutors in Georgia are seeking an equivalent extension in that case. Similarly, AUSA Leach is

 5 currently engaged in preparations for, and likewise, currently conducting a trial in a separate matter,

 6 which will continue take up a substantial portion of his time. AUSA Leach’s trial on this separate matter

 7 has him engaged in time-consuming preparations since August 31, 2021 and this current trial will likely

 8 continue to affect AUSA Leach’s schedule at least until, if not longer than, December 17, 2021.

 9          Counsel Wirsching and AUSA Leach have been involved in good faith negotiations to settle this

10 matter, the resolution of which has been interrupted only by the companion case filed in Georgia.

11 Counsel Wirsching and AUSA Leach are amenable to the judicially efficient resolution that a global

12 plea covering both matters would provide. AUSAs in Georgia are also amenable to such a disposition.

13 Prior to such a possibility, it is incumbent upon Mr. Faulk’s counsel to review the discovery in the

14 companion Georgia matter. This is especially true since the timelines in each matter are similar and any

15 plea in this Honorable Court prior to discovery review of the Georgia matter may cause irreparable harm

16 to disposition in Georgia. The defense requires additional time to review and analyze the discovery

17 arriving from Georgia, and to pursue a global disposition for both matters. All parties have been working

18 towards global disposition and have planned an in-person meeting for negotiation.

19          Based on the foregoing, the parties stipulate that the status conference currently set for December

20 16, 2021 be continued to February 17, 2022 at 1:30PM The parties further agree that time under the
21 Speedy Trial Act should be excluded from the date the parties stipulated, up to and including February

22 17, 2022, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] based on continuity

23 of counsel and defense preparation.

24          The parties agree that the failure to grant a continuance in this case would deny defense counsel

25 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

26 The parties also agree that the ends of justice served by the Court granting the requested continuance

27 outweigh the best interests of the public and the defendant in a speedy trial.

28                                                       Respectfully submitted,

      STIPLUATION AND PROPOSED ORDER TO                  2
30    CONTINUE STATUS CONFERENCE
                Case 3:19-cr-00676-WHO Document 48 Filed 12/10/21 Page 3 of 4



 1
     Dated: December 2, 2021                            __/s/Robert Leach
 2                                                      ROBERT LEACH
                                                 Assistant United States Attorney
 3                                               Attorney for Plaintiff United States
 4

 5 Dated: December 2, 2021                       _/s/ Jennifer J. Wirsching____
                                                 JENNIFER J. WIRSCHING
 6                                               For LibertyBell Law Group
                                                 Attorneys for Defendant Anthony Faulk
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          STIPLUATION AND PROPOSED ORDER TO     3
30        CONTINUE STATUS CONFERENCE
                Case 3:19-cr-00676-WHO Document 48 Filed 12/10/21 Page 4 of 4


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                                                ORDER
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              The Court, having received and considered the parties’ stipulation, and good cause appearing
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     therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the
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     failure to grant a continuance in this case would deny counsel reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence. The Court also finds that the ends of
 9
     justice served by granting the requested continuance outweigh the best interests of the public and the
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     defendant in a speedy trial.
11
              The Court orders that the time from the date the parties stipulated, up to and including February
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     17, 2022, shall be excluded from the computation of time within which the trial in this case must begin
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     under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare. It is
14
     further ordered that the December 17, 2021, status conference be continued until February 17, 2022 at
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     1:30 PM.
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17
              December 10
     Dated: __________________, 2021                         _______________________________
18                                                           Hon. William H. Orrick
                                                             United States District Judge
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          STIPLUATION AND PROPOSED ORDER TO                 4
30        CONTINUE STATUS CONFERENCE
